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intentional inflection of emotional distress done by the Democratic Party and there agents in the general
election in 2016 and in the special election l\/larch on 21 2017 it was a blatant abuse of power by the
Democratic Party and their agents there was no accountability for following election laws on that day there
was a blatant abuse of power going on that day

Harrisburg also caused emotional stress indirectly By having a press conference calling for the State
Attorney General to do an investigation into the special election and then still swearing-in then candidate Emilio
\/asquez as the state representative of the 197 District even after they had video of the misconduct that was
going on the day of the special election by the agents working for the Democratic Party

This abuse of power did not just start with the special election it started for me back in 2016 when l ran for state
representative of the 197 District as a write-in candidate against then incumbent state representative Leslie
Acosta she was convicted a money laundering and embezzlement and the Democratic party still endorsed her
candidacy she should never have been on the ballot from the beginning the election was stolen from me after l
challenged her and the state courts stated they did not have jurisdiction to rule on the case l found out later that
was untrue if the state courts had done it's job it would have never been a special election in the first place.

The emotional toll this has took on me and my family has been very very stressful

Right after the general election in 2016 l was feeling very depressed l was feeling like something l work so hard
for was taken from me and l thought by going to court | was really going to receive Justice but that did not
happen l felt less of a man because being disabled Society looks at you differently And this was just another
slap in the face. l also was notable to provide for my children and my wife the way l would have liked to and l
wanted to serve my community in a stronger capacity even though l am a 11 year advocate in this city of
Philadelphia l do not let my disability stop me in any way l persevere everyday and l strive to make my
community and my city better me and my wife we're going through some rough patches after l did not win and
the general election and the special election after the blatant discrimination of the Democratic Party doing the
general election in 2016 lf the Democratic Party would not have discriminated against me l would not have lost
my annual total salary in 2016 in the tune of $260,000 and that includes benefits as well in 2016 l was the only
candidate that challenged Leslie Acosta in State Court if the Democratic Party would have done there job there
would have never been a special election to speak of in 2017 because of l_eslie Acosta was never supposed
to be on the ballot because of her Federal conviction and l was deprived the opportunity to provide for my
family a strong economic way of growth within our family and l was discriminated against by the party because
l strongly believe l was discriminated against by the party because of

my disability and they wanted to take advantage of me because of my disability and l'm seeking 10 million in
damages intentional emotional distress and the Democratic Party has a monopoly stronghold on Philadelphia
politics and this has been going on for over 64 years.

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Clt.y of Philadelphia, Phlta. County
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